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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO
                               FOR
 In re:
                                                              Case No. 16-13815 TBM
     FOG CAP II LLC,
 SBN FOG
                                                              Chapter 11
          Debtor.

 In re:                                                       Case No. 16-13817 TBM

 FOG CAP RETAIL INVESTORS LLC,                                Chapter 11

          Debtor.                                             Jointly Administered Under
                                                              Case No.
                                                              Case  No. 16-13815
                                                                        16-13815 TBM
                                                                                 TBM


                MOTION TO QUASH SUBPOENA FOR
                                         FOR RULE 2004
                                                  2004 EXAMINATION



        Summit Investment
        Summit                 Management LLC
                 Investment Management            LLC ("Summit"),
                                                        ("Summit"), SBN
                                                                     SBN FCCG
                                                                           FCCG LLCLLC ("SBN")
                                                                                          ("SBN") and
                                                                                                    and
 SummitBridge National Investments
 SummitBridge             Investments LLC ("SummitBridge") by and through   through their
                                                                                      their undersigned
                                                                                            undersigned
 counsel, Lewis Roca
                Roca Rothgerber
                      Rothgerber Christie
                                   Christie LLP,LLP, pursuant
                                                     pursuant to
                                                               toFED. R. CIV.
                                                                 FED. R. Civ. P.
                                                                              P. 45 (as incorporated
                                                                                        incorporated by
 FED.R.
 FED.  R.BANKR.
          BANKR. P.P. 9016),hereby
                    9016),   herebyfiles
                                     filesitsitsMotion
                                                 MotiontotoQuash
                                                            QuashSubpoena
                                                                  Subpoena For
                                                                           For Rule
                                                                                Rule 2004 Examination
 (the "Motion to Quash") and states as follows:

                                              INTRODUCTION

         The Official Unsecured
                          Unsecured Creditors'
                                       Creditors' Committee
                                                    Committee for for Fog Cap
                                                                            Cap Retail
                                                                                  Retail Investors,
                                                                                           Investors, LLCLLC (the
                                                                                                               (the
 "Committee") is controlled by    by Stratford Holding
                                                Holding LLCLLC ("Stratford") andand Foot
                                                                                     Foot Locker
                                                                                             Locker Retail,
                                                                                                       Retail, Inc.
 ("Foot Locker"), as as they are the only members
                                            members of the Committee.
                                                               Committee. Unfortunately,
                                                                              Unfortunately, thethe Committee,
 through its
 through   its individual
                individual members,
                              members, is is attempting
                                             attempting to  to abuse
                                                                abuse Rule
                                                                         Rule 2004
                                                                               2004 and
                                                                                      and conduct
                                                                                             conduct backdoor
                                                                                                         backdoor
 discovery for
 discovery   for a matter
                    matter currently
                             currently pending
                                         pending In thethe United
                                                            United States
                                                                     States District
                                                                             District Court
                                                                                       Court for
                                                                                               for the
                                                                                                     the Western
                                                                                                          Western
 District of Oklahoma, styled Stratford Holding, LLC v.        v. Foot Locker
                                                                        Locker Inc., et
                                                                                      et al., Case No.No. CIV12-
                                                                                                           CIV 12-
 0772-HE (the
 0772-HP3   (the "Oklahoma Litigation").
                                 Litigation"). The
                                                TheCommittee
                                                      Committee has has subpoenaed
                                                                         subpoenaed third
                                                                                       third parties,
                                                                                              parties, including
                                                                                                         including
 Summit, SBN
 Summit,    SBN and SummitBridge,
                         SummitBridge, to  to produce
                                              produce documents
                                                         documents (many(many of which
                                                                                   which havehave already
                                                                                                    already been
                                                                                                              been
 provided
 provided by by the Debtors)
                      Debtors) for for purposes
                                        purposes notnot related
                                                         related toto the
                                                                       the administration
                                                                            administration of  of the
                                                                                                   the Debtors'
                                                                                                          Debtors'
 bankruptcy    estates, but instead
 bankruptcy estates,          instead to benefit
                                          benefit the
                                                   the individual
                                                        individual committee
                                                                     committee members
                                                                                  members in  in the
                                                                                                  the Oklahoma
                                                                                                       Oklahoma
 Litigation. Indeed,
 Litigation.   Indeed, ininthe
                            theOklahoma
                                Oklahoma Litigation,
                                             Litigation, Stratford
                                                          Stratford recently
                                                                      recently filed its
                                                                                      its Motion
                                                                                           Motion forfor Leave
                                                                                                          Leave to
 file a Third Amended
               Amended Complaint
                           Complaint to AddAdd Summit
                                                Summit Investment
                                                           Investment Management LLC     LLC and SBN  SBN FCCG
                                                                                                            FCCG
 LLC as Individual
 LLC       Individual Defendants
                         Defendants and Third
                                            Third Amended
                                                    Amended Complaint
                                                                 Complaint to assert
                                                                                 assert direct
                                                                                          direct claims
                                                                                                  claims against
                                                                                                           against
 Summit and
 Summit     and SBN.
                 SBN. This Thisimproper
                                 improper useuse of
                                                  of Rule
                                                      Rule 2004
                                                             2004 should
                                                                    should not
                                                                             not be
                                                                                  be permitted
                                                                                      permitted in  in this
                                                                                                        this case.
                                                                                                              case.
 Therefore, Summit,
 Therefore,   Summit, SBN  SBN andand SummitBridge        respectfully request
                                       SummitBridge respectfully          request that
                                                                                   that the
                                                                                         the Court
                                                                                              Court quash
                                                                                                        quash the
                                                                                                                the
 Subpoenas issued by the Committee.




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                                           BACKGROUND

 A.      The Bankruptcy Case

         L
         1.          Court has jurisdiction
               This Court      jurisdiction over this proceeding
                                                      proceeding pursuant to 28
                                                                             28 U.S.C.
                                                                                U.S.C. §§
                                                                                       §§ 157(a)
 and (b) and 1334(a) and (b).

        2.       On April
                 On April 20, 2016,
                               2016, Fog
                                      Fog Cap
                                           Cap Retail
                                                 Retail Investors  LLC and
                                                        Investors LLC    and SBN
                                                                             SBN Fog
                                                                                   Fog Cap
                                                                                         Cap II LLC
                                                                                                LLC
 (together, the "Debtors") filed voluntary
                                 voluntary petitions for relief
                                                          relief under Chapter 11 of the
                                                                                     the Bankruptcy
                                                                                          Bankruptcy
 Code.

        3.     Thereafter, on
               Thereafter, on May
                               May 25, 2016,
                                        2016, the
                                               the United
                                                   United States
                                                          States Trustee
                                                                 Trustee formed
                                                                          formed an
                                                                                 an unsecured
                                                                                     unsecured
 creditors' committee
            committee pursuant to 11
                                  11 U.S.C.
                                     U.S.C. § 1102,
                                              1102, appointing Stratford
                                                               Stratford and Foot Locker
                                                                                  Locker as its
 only members.

        4.       On August
                    August 11, 2016, the Committee     filed its Unsecured
                                           Committee filed                  Creditors' Committee's
                                                                 Unsecured Creditors'
 Motion for Order
 Motion       Order Authorizing
                     Authorizing Examination
                                  Examination of Fog
                                                   Fog Cutter
                                                        Cutter Capital
                                                                Capital Group,
                                                                        Group, Fortress
                                                                                 Fortress Investment
                                                                                            Investment
 Group (also known as FIG,
                         FIG, LLC), SBN
                                      SBN FCCG
                                           FCCG LLC,
                                                  LLC, SummitBridge National
                                                                         National Investments
                                                                                    Investments LLC,
 and Summit
 and  Summit Investment
                Investment Management
                            Management LLC LLC Pursuant
                                                 Pursuant totoFED.
                                                                FED. R.
                                                                      R.BANKR.
                                                                         BANKR. P.   P. 2004
                                                                                         2004 (Docket
                                                                                               (Docket
 No. 160)
     160) (the
           (the "Rule
                "Rule 2004
                       2004 Motion").
                             Motion"). Thereafter,
                                         Thereafter, on
                                                     on September
                                                         September 6, 2016,
                                                                        2016, this
                                                                               this Court
                                                                                     Court entered
                                                                                             entered its
 Order Granting Unsecured
                  Unsecured Creditors' Committee's Motion to   to Conduct
                                                                  Conduct Rule
                                                                           Rule 2004
                                                                                 2004 Examinations
                                                                                          Examinations
 (Docket No. 212)
               212) (the
                    (the "Rule
                         "Rule 2004 Order").
                                      Order"). The
                                               The Rule
                                                    Rule 2004
                                                          2004 Order
                                                                Order provided
                                                                       provided that
                                                                                  that the
                                                                                        the Committee
                                                                                            Committee
 may compel the attendance of witnesses
                                 witnesses and production
                                                production of documents in thethe manner
                                                                                   manner prescribed
                                                                                             prescribed
 by FED. R. BANKR.
    FED. R.  BANKR.P.P.2004(c)
                         2004(c)and
                                 and 9016.
                                     9016.

       5.
       5.      On October
               On  October 13,13, 2016,
                                   2016, Committee
                                         Committee counsel
                                                        counsel caused
                                                                  caused a Subpoena
                                                                             Subpoena to   to Produce
                                                                                               Produce
 Documents, Information or Objects or to Permit Inspection of Premises in a Bankruptcy Case (or
 Adversary Proceeding) (the
 Adversary Proceeding)   (the "SBN
                              "SBN Subpoena"
                                     Subpoena" oror "SummitBridge      Subpoena") to
                                                     "SummitBridge Subpoena")         to be served
                                                                                             served on
 SBN and SummitBridge, copies of which
                                    which are attached
                                               attached hereto as Exhibits A  A and B. In  In addition,
 on October
    October 14,
             14, 2016,
                 2016, the
                         the Committee
                              Committee issued
                                          issued aa similar
                                                     similar subpoena
                                                              subpoena onon Summit
                                                                             Summit (the(the "Summit
                                                                                              "Summit
 Subpoena"). AAcopy
                copy of
                     of the
                         theSummit
                             Summit Subpoena
                                      Subpoena is
                                                is attached
                                                   attached and   incorporated herein as Exhibit C.
                                                             and incorporated
 The Summit, SBN and SummitBridge
                        SummitBridge Subpoenas
                                       Subpoenas are collectively
                                                        collectively referred to
                                                                              to as
                                                                                 as the "Subpoenas."

         6.     On or
                On   or about
                         about Friday,
                                Friday, October
                                         October 28,28, 2016,
                                                         2016,undersigned
                                                                 undersigned counsel
                                                                                counsel conferred
                                                                                         conferred with
                                                                                                    with
 counsel for the Committee
 counsel         Committee indicating that he was only recently retained
                                                                       retained in this matter on
                                                                                               on behalf
 of Summit
     Summit and
             and that
                  that additional
                       additional time
                                   time would
                                         would bebe necessary
                                                     necessary to
                                                                to review
                                                                    review the
                                                                             the Summit
                                                                                  Summit Subpoena
                                                                                          Subpoena and
                                                                                                     and
 request for document
 request     document production
                        production inin order to provide the Committee with Summit's response
                                                                                            response to
 the same.
 the  same. Thereafter,
              Thereafter, ononNovember
                                November 8,  8,2016,
                                                 2016,SBNSBN andandSummitBridge
                                                                      SummitBridge sought
                                                                                       sought to
                                                                                               to retain
                                                                                                   retain
 undersigned  counsel. The
 undersigned counsel.    The Committee
                              Committee hashas allowed
                                               allowed Summit
                                                         Summit until
                                                                   until November
                                                                         November 11, 2016
                                                                                         2016 and SBN
                     until November 15, 2016
 and SummitBridge until                    2016 to
                                                 to respond to
                                                             to the
                                                                the Committee's
                                                                     Committee's Subpoenas.

         7.
         7.      On November
                     November 4, 2016, Stratford       filed its Motion
                                          Stratford filed        Motion of Stratford
                                                                              Stratford Holding
                                                                                        Holding LLC for
 Order Confirming
 Order   Confirming Alter
                      Alter Ego/Veil
                            Ego/Veil Piercing
                                       Piercing Claims
                                                   Claims Against
                                                            Against Non-Debtors
                                                                      Non-Debtors Summit
                                                                                      Summit Investment
                                                                                               Investment
 Management LLC
 Management      LLC and
                      and SBN FCCG
                                 FCCG LLCLLC in in Connection
                                                    Connection with
                                                                  with Environmental
                                                                        Environmental Liability
                                                                                         Liability Claims
                                                                                                   Claims
 Pending in
 Pending   in the United
                   United States District
                                 District Court
                                          Court for thethe Western
                                                            Western District
                                                                      District of Oklahoma    (I) Are not
                                                                                   Oklahoma (I)        not
 Property of
 Property   of the Debtors'
                   Debtors' Estates,
                            Estates, and
                                     and (II)
                                          (II) the
                                                the Assertion
                                                     Assertion ofof Such
                                                                     Such Claims
                                                                            ClaimsAgainst
                                                                                    Against Non-Debtors
                                                                                            Non-Debtors
 Summit Investment
 Summit   Investment Management
                       Management LLCLLC and
                                           and SBNSBN FCCG
                                                         FCCG LLCLLC inin the
                                                                           the Oklahoma
                                                                               Oklahoma Environmental
                                                                                          Environmental
                     No. 335) (the "Alter Ego Motion").
 Litigation (Docket No.

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         8.
         8.      The Alter Ego Motion
                                 Motion requests substantive
                                                   substantive relief from this Court
                                                                                  Court requesting
                                                                                         requesting the
 Court determine that Stratford owns certain
                                       certain alter ego/veil piercing claims
                                                                         claims and that it be
                                                                                            be allowed
                                                                                                allowed
 to assert
    assert those claims in the Oklahoma
                               Oklahoma Litigation.
                                          Litigation. As
                                                       As set
                                                          set forth
                                                               forth below,
                                                                      below, the
                                                                              the Oklahoma
                                                                                  Oklahoma Litigation
                                                                                              Litigation
 and the
 and  the Alter
           Alter Ego
                  Ego Motion
                      Motion highlight
                               highlight why
                                         why unrelated
                                               unrelated discovery
                                                          discovery served
                                                                       served on Summit,
                                                                                   Summit, SBNSBN and
                                                                                                    and
 SummitBridgeshould
 SummitBridge      shouldbebe addressed
                               addressedinin the
                                             the Oklahoma       Litigationand
                                                  Oklahoma Litigation        and not
                                                                                  not in
                                                                                      in the
                                                                                          the Debtors'
                                                                                               Debtors'
 bankruptcy cases.

 B.      The Prepetition Oklahoma Litigation

         9.
        9.     In 2012, Stratford
                         Stratford commenced the Oklahoma
                                                   Oklahoma Litigation
                                                              Litigation against various
                                                                                 various entities,
                                                                                         entities,
 including one
 including  one of
                 of the
                     the Debtors,
                          Debtors, seeking
                                     seeking indemnification   for costs
                                               indemnification for  costs associated
                                                                           associated with
                                                                                       with thethe
 environmental clean-up of property
                           property located in Oklahoma.

         10.
         10.    The Oklahoma
                The               Litigation has
                     Oklahoma Litigation     has been   stayed by the
                                                  been stayed        the Debtors'
                                                                          Debtors' bankruptcy   filings
                                                                                    bankruptcy filings
 pursuant
 pursuant to 11 U.S.C.     362(a). See Oklahoma
                 U.S.C. §§ 362(a).        Oklahoma Litigation     Order (the "Stay Order"),
                                                      Litigation Order               Order"), attached
                                                                                              attached
 hereto  as Exhibit D. The
 hereto as              The Stay
                              Stay Order, in relevant
                                              relevant part,
                                                       part, indicates
                                                              indicates that
                                                                        that the
                                                                              the Oklahoma
                                                                                  Oklahoma Litigation
                                                                                            Litigation
 would be stayed against all parties until April 1, 2017, "except that the stay shall not prevent any
 party
 party from
       from pursuing here claims   against SBN
                            claims against  SBN FCCG
                                                  FCCG LLCLLC and
                                                                and Summit
                                                                     Summit Investment,
                                                                               Investment, LLC
                                                                                           LLC .. .. .. ."
 Stay Order, p. 2.

         11.
         11.    On November
                On            1, 2016, in
                    November 1,        in the
                                           the Oklahoma
                                               Oklahoma Litigation,
                                                            Litigation, Stratford  filed its Plaintiff
                                                                        Stratford filed      Plaintiff
           Holding, LLC's
 Stratford Holding, LLC's Motion
                          Motion for Leave
                                     Leave to File
                                                File a Third Amended
                                                             Amended Complaint to Add Summit
             Management LLC and
 Investment Management        and SBN FCCG LLC as Additional Defendants (Docket No. 267)
 (the "Oklahoma
      "Oklahoma Motion    to Amend").
                  Motion to  Amend"). The
                                        TheOklahoma
                                              Oklahoma Motion
                                                          Motion toto Amend
                                                                       Amend included
                                                                               included Stratford's
                                                                                          Stratford's
 Third Amended
        Amended Complaint   which added
                 Complaint which  added direct
                                          direct claims
                                                 claims against
                                                         againstSummit
                                                                 SummitandandSBN.
                                                                               SBN. A copy of  of the
 Oklahoma Motion to Amend    and Third
                      Amend and  Third Amended
                                       Amended Complaint
                                                    Complaint are
                                                               areattached
                                                                   attachedasasExhibit
                                                                                Exhibit E.

        12.
        12.     Based
                Based on thethe Oklahoma
                                Oklahoma Motion
                                           Motion toto Amend
                                                       Amend andand Third
                                                                     Third Amended
                                                                            Amended Complaint,
                                                                                        Complaint, it
 appears that Stratford intends to seek contribution                            Summit and SBN in
                                        contribution and other claims against Summit
 the Oklahoma Litigation, including the fact that Stratford also intends to pursue alter ego and veil
 piercing claims against Summit and SBN. See Oklahoma Motion Motion to Amend, p. p. 8 of 13.

         13.
         13.     Based on
                 Based   on the
                              the foregoing,
                                   foregoing, the
                                                the Subpoena
                                                      Subpoena and the   the information
                                                                              information requested
                                                                                            requested byby the
                                                                                                            the
 Committee appear to be
 Committee               be calculated
                              calculated to
                                          to obtain
                                             obtain discovery
                                                      discovery from
                                                                   from Summit,
                                                                          Summit, SBN
                                                                                    SBN and
                                                                                          and SummitBridge
                                                                                               SummitBridge
 pertaining
 pertaining toto matters
                 matters solely
                           solely related    to the
                                    related to    the Oklahoma
                                                       Oklahoma Litigation.
                                                                      Litigation. Moreover,
                                                                                     Moreover, because
                                                                                                  because the
                                                                                                            the
 Oklahoma Litigation        stayed until
             Litigation is stayed   until at least April 1, 2017
                                                              2017 and because
                                                                           because the
                                                                                    the discovery
                                                                                        discovery period has
 expired in the
             the Oklahoma      Litigation,1 Stratford,
                 Oklahoma Litigation,'      Stratford, through
                                                        through itsits membership
                                                                       membership on the the Committee,
                                                                                              Committee, has
 decided to
 decided  to sidestep
              sidestep the Stay
                              Stay Order
                                    Order and
                                            and attempt
                                                  attempt toto gain
                                                                gain access
                                                                       access totoinformation
                                                                                   information through
                                                                                                  through this
                                                                                                           this
 proceeding    that has
 proceeding that    has little
                        little to nothing
                                   nothing to do do with
                                                     with the
                                                           the financial
                                                                financial circumstances
                                                                             circumstances of thethe Debtors'
                                                                                                      Debtors'
 bankruptcy
 bankruptcy cases andand instead
                         instead has everything
                                        everything to do with claims that Stratford
                                                                                 Stratford is asserting
                                                                                              asserting in the
             Litigation. Accordingly,
 Oklahoma Litigation.     Accordingly, Summit,
                                          Summit, SBN and  and SummitBridge        object to
                                                                 SummitBridge object      to the Committee's
 Subpoenas and request the Court quash the same.




  1
   Pursuant to
   Pursuant to the most
                    most recent Scheduling Order entered in
                                                          in the Oklahoma
                                                                 Oklahoma Litigation, discovery
                                                                                       discovery closed
                                                                                                 closed on August
                                                                                                           August 1,
 2016,
 2016. A
       Acopy
         copyof ofthe
                   the Scheduling
                       Scheduling Order
                                  Order is
                                        is attached
                                           attached and incorporated herein as
                                                        incorporated herein as Exhibit
                                                                               Exhibit F.

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                                           REQUESTED RELIEF

        14.
        14.     By and through this Motion
                                      Motion to Quash,
                                                Quash, Summit,
                                                        Summit, SBNSBN and
                                                                         and SummitBridge
                                                                              SummitBridge request
                                                                                             request
 the Court enter an
                 an order
                    order quashing
                          quashing the
                                    the Subpoenas
                                        Subpoenas pursuant
                                                   pursuant to
                                                             to FED.  R. CIV.
                                                                 FED. R. Civ. P.
                                                                              P. 45 (as incorporated
 by FED. R. BANKR.
    FED. R. BANKR.P.P.9016),
                        9016),because
                               becausethe
                                        theSubpoenas:
                                            Subpoenas:

           (i)           attempt to
                  are an attempt to obtain discovery in
                                                     in an unrelated
                                                           unrelated litigation;

           (ii)                          of privileged, confidential
                  require the disclosure of             confidential and/or other protected documents
                          no bearing
                  having no  bearing on
                                     on the
                                         the Debtors'
                                             Debtors' bankruptcy cases (Rule 45(d)(3)(iii));

           (ii)   subject Summit,
                  subject  Summit, SBNSBN and
                                           and SummitBridge
                                                 SummitBridge to significant
                                                                    significant burden,
                                                                                 burden, expense
                                                                                         expense and
                                                                                                 and
                  disruption of their respective businesses (Rule 45(d)(3)(iv); and

           (iv)   are likely duplicative of other information
                             duplicative of       information the Debtor and/or
                                                                         and/or other third parties
                                                                                            parties
                          will provide to the Committee.
                  have or will

                                                 DISCUSSION

 A.        The Subpoenas
           The  Subpoenas Should
                           Should be Quashed
                                     Quashed Pursuant
                                               Pursuant to Rule
                                                           Rule 45(d)(3)(A)
                                                                 45(d)(3)(A) as
                                                                             as Requiring
                                                                                Requiring
           Protected Information Which
           Protected Information   Which is
                                         is Unduly
                                            Unduly Burdensome   and has
                                                   Burdensome and    has Previously
                                                                          Previously Been
                                                                                     Been
           Provided by the Debtors

           15.
           15.       Pursuant to FED.
                     Pursuant                R. CIV.
                                       FED. R.  Civ. P.
                                                     P. 45(d)(3)(A)(iii) and (iv)
                                                                              (iv) (as
                                                                                    (as incorporated
                                                                                         incorporated byby FED.
                                                                                                            FED. R.
 BANKR.
 BANKR. P.P.9016), 9016),"[o]n
                             "[o]ntimely
                                      timely motion,
                                              motion, the
                                                       the issuing
                                                           issuing court         quash or modify
                                                                   court must quash           modify aa subpoena
                                                                                                         subpoena
 that: . .. .(iii)
 that:        (iii)requires
                    requires disclosure
                                 disclosure ofof privileged   or other
                                                  privileged or  other protected
                                                                        protected matter,     if no
                                                                                     matter, if   no exception
                                                                                                      exception or
                                                                                                                 or
 waiver    applies ....
 waiver applies       . . . oror(iv)
                                  (iv)subjects
                                        subjectsaaperson
                                                   personto
                                                          toundue
                                                              undueburden."
                                                                    burden."FED.FED.R.R. Civ.
                                                                                           CIV. P.
                                                                                                P. 45(d)(3)(A)(iii)
                                                                                                   45(d)(3)(A)(iii)
             (emphasis added).
 and (iv) (emphasis

        16.
        16.     Upon
                Upon information
                       information andand belief,
                                          belief, the
                                                   the Debtor
                                                        Debtor has
                                                                 has previously
                                                                      previously provided
                                                                                   provided to to the
                                                                                                   the
 Committee more than 10,000 documents
 Committee                                                 38.000 pages
                               documents of more than 38,000       pages responsive   to many
                                                                          responsive to  many if not
 most of the
 most     the document
               document requests
                          requests included   in the
                                    included in   the Subpoenas,
                                                       Subpoenas, including,    but not
                                                                    including, but   not limited
                                                                                          limited to,
                                                                                                    to,
 document request
 document   request numbers
                    numbers 1-6,
                            1-6, 8-11
                                 8-11 and
                                       and 12-14.
                                           12-14. ToTo require
                                                       require Summit,
                                                               Summit, SBN
                                                                         SBN and
                                                                              and SummitBridge to
 reproduce documents that the Committee already
                                           already has in its possession subjects
                                                                         subjects those third
                                                                                         third parties
 to undue burden and expense related to information the Committee already has     in its possession.
                                                                              has in

         17.
         17.    In addition, with
                                with regard
                                      regard to the
                                                 the remaining document requests, the Committee
                                                                                             Committee seeks
 private and confidential
 private and  confidential information       serving absolutely
                             information serving       absolutely no
                                                                   no purpose
                                                                      purpose inin the Debtors'
                                                                                        Debtors' bankruptcy
                                                                                                    bankruptcy
 cases. For
 cases.  Forexample,
              example, thetheCommittee
                              Committee has   has requested
                                                   requested the
                                                              the federal
                                                                   federal income
                                                                            income tax
                                                                                     tax returns
                                                                                          returns ofof Summit,
                                                                                                       Summit,
 SBN and SummitBridge.
 SBN        SummitBridge. See Exhibit Exhibit A A to Subpoena,
                                                       Subpoena, Document       Request12.
                                                                    Document Request        12. However,
                                                                                                  However, the
                 demonstrated absolutely no basis for why this information is necessary and, more
 Committee has demonstrated
 importantly, how
 importantly,  how itit relates
                        relates to
                                 to the
                                    the Debtors' financial
                                                    financial circumstances.
                                                               circumstances. Indeed,
                                                                                 Indeed, this
                                                                                           this information
                                                                                                 information is
 confidential and
 confidential and disclosure of any return
                                         return or return                   prohibited. See, e.g., 26 U.S.C.
                                                    return information is prohibited.
 § 6103(a).
 §  6103(a). Nevertheless,
                Nevertheless, the the Committee
                                        Committee seeksseeks all
                                                              all tax
                                                                   tax returns
                                                                        returns from
                                                                                  from Summit,
                                                                                         Summit, SBN SBN and
                                                                                                           and
 SummitBridge. Providing
                  Providing this
                               this privileged
                                     privileged and/or confidential
                                                         confidential information
                                                                       information isis unwarranted.

        18.
        18.    The Committee    further requests
                     Committee further     requests "[a]ll
                                                      141 Documents
                                                            DocumentsandandCommunications
                                                                             Communications relating
                                                                                             relating
 to the Debtor's financial
 to              financial condition            including but
                           condition. . .. .. , including  but not
                                                               not limited
                                                                   limited to your
                                                                              your own or
                                                                                       or any
                                                                                          any of the

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 Debtor's financial  statements. . .. .." Exhibit
           financial statements             ExhibitAAtoto Subpoena,
                                                             Subpoena,Document
                                                                         DocumentRequest
                                                                                    Request 11 11 (emphasis
                                                                                                   (emphasis
 added). Again,
 added).   Again, Rule
                   Rule 2004(b)
                         2004(b) applies
                                  applies to to the
                                                 the acts,
                                                      acts, conduct,
                                                             conduct, or
                                                                      or property
                                                                          property or
                                                                                   or the
                                                                                       the liabilities
                                                                                            liabilities of the
                                                                                                           the
 debtor, not
 debtor,  not to third
                 third parties
                        parties as is
                                    is being
                                         being requested
                                                requested by  by the Committee.
                                                                     Committee. The The disclosure
                                                                                          disclosure of thethe
 requested financial information pertaining to Summit, SBN      SBN or SummitBridge is irrelevant
                                                                                            irrelevant to the
 Debtors'
 Debtors' bankruptcy
           bankruptcy case
                       case and
                             and should notnot be ordered by the Court.

         19.
         19.     Because  most if
                 Because most   if not all of
                                           of the
                                               the requested
                                                    requested information
                                                               information has
                                                                           has been
                                                                                 been provided
                                                                                        provided by the
                                                                                                     the
 Debtor
 Debtor and because
               because any
                       any additional
                            additional information
                                        information is is confidential and irrelevant
                                                          confidential and irrelevant toto the Debtors'
                                                                                                Debtors'
 bankruptcy   cases, Summit,
 bankruptcy cases,             SBN and SummitBridge
                     Summit, SBN                             request the
                                           SummitBridge request      the Court
                                                                         Court quash
                                                                                 quash the
                                                                                         the Subpoenas
                                                                                              Subpoenas
 relating to
 relating to any
              any infoi 'nation already
                   information   already provided
                                          provided by  by the
                                                           the Debtors
                                                               Debtors or that
                                                                            that isisprivileged
                                                                                      privileged and/or
                                                                                                  and/or
 confidential.

 B.      The Subpoenas
         The              Should be
              Subpoenas Should    be Quashed
                                     Quashed Because      the Committee
                                                Because the   Committee and and Stratford
                                                                                Stratford are
         Abusing Rule
                  Rule 2004
                       2004 by
                            by Seeking
                               Seeking Discovery
                                        Discoveryininthe
                                                      theDebtors'
                                                          Debtors' Bankruptcy Cases for Use
                                                                                          Use
         in the Oklahoma Litigation in Violation of Rule
                                       Violation of Rule 2004
                                                         2004and
                                                               and the
                                                                    the Stay
                                                                        Stay Order
                                                                             Order Entered in
         the Oklahoma Litigation

          20.     The Subpoenas,
                  The   Subpoenas, atat their
                                         their very
                                               very essence,
                                                     essence, areare an
                                                                     an attempt
                                                                         attempt by by Stratford
                                                                                        Stratford toto gain
                                                                                                        gain a
            advantage in the
 litigation advantage      the Oklahoma
                               Oklahoma Litigation.
                                           Litigation. Moreover,
                                                        Moreover, the Subpoenas are    are each an
                                                                                                 an improper
 use of Rule
         Rule 2004 because
                      because Stratford, through its membership
                                                       membership on the Committee, is       is attempting to
 circumvent thethe Stay Order as well as to conduct     discovery in the Debtors' bankruptcy
                                              conduct discovery                        bankruptcy cases for
 use in another
          another forum.
                   forum. "'Although
                            '"AlthoughRule
                                         Rule2004
                                               2004examinations
                                                      examinations have
                                                                      have been
                                                                            been characterized
                                                                                   characterized as as fishing
                                                                                                       fishing
 expeditions, they
 expeditions,   they are
                      are not without   bounds.' In re Buick,
                               without bounds.'                    174 B.R. 299, 305
                                                           Buick, 174                 305 (Bankr.
                                                                                           (Bankr. D.D. Colo.
                                                                                                          Colo.
 1994). Rule
           Rule2004
                 2004 examinations
                       examinations cannot
                                      cannot be
                                              be used
                                                 used for
                                                       for the
                                                            the purpose
                                                                purpose ofof abuse
                                                                              abuse or
                                                                                     or harassment
                                                                                         harassment and the
                cannot go beyond
 examination cannot                 the bounds
                            beyond the  bounds ofof what
                                                    what is, or
                                                              or may be, relevant
                                                                           relevant to the inquiry." In re   re
 Strecker, 251 B.R. 878,
                       878, 882 (Bankr.
                                 (Bankr. D. Colo. 2000).
                                                     2000). "Limitation
                                                              "Limitation ofof discovery
                                                                                discovery using
                                                                                            using Rule
                                                                                                    Rule 2004
 is especially appropriate
                appropriate when the
                                   the actual motion
                                               motion for the request is an      improper purpose. See In
                                                                             an improper                     In
 re Enron Corp., 281281 B.R. 836 (Bankr. S.D.N.Y. 2002) (Rule 2004 discovery could not be used to
                                                   security fraud
 circumvent discovery limitations in pending security        fraud action)."
                                                                   action)." In re re El Toro Exterminator
                                                                                                Exterminator
 of Florida, Inc., 05-60015-BKC-LMI, 2006 WL 2882519, at          at *2 (Bankr. S.D. Lla.
                                                                                        Fla. July
                                                                                              July 6, 2006).

        21.   "It is well recognized that, once an adversary proceeding or other contested matter
    commenced, discovery should
 is commenced,             should be pursued
                                     pursued under the
                                                    the Federal Rules of Civil
                                                                         Civil Procedure
                                                                               Procedure and not
 Rule 2004." In re
                re Enron Corp., 281 B.R. at 840.

         Courts have
         Courts   have exhibited
                         exhibited similar
                                      similar concerns
                                               concerns and
                                                          and reached
                                                                reached similar
                                                                          similar results
                                                                                    results when
                                                                                              when
         confronted with
         confronted    with the
                             the propriety
                                  propriety ofof Rule
                                                  Rule 2004
                                                         2004 examinations
                                                                examinations where
                                                                                where the
                                                                                        the party
                                                                                              party
         requesting the
         requesting   the Rule
                          Rule 2004
                                 2004 examination
                                         examination could
                                                        could benefit
                                                               benefit their
                                                                        their pending
                                                                               pending litigation
                                                                                         litigation
         outside of the bankruptcy
         outside         bankruptcy court against the proposed
                                                           proposed Rule
                                                                     Rule 2004    examinee. See
                                                                           2004 examinee.
         Snyder
         Snyder v. Soc'y
                     Soc'y Bank,
                           Bank, 181181 B.R.
                                         B.R. 40, 42 (S.D.
                                                       (S.D. Tex.   1994) affd sub
                                                              Tex. 1994)         sub nom.
                                                                                      nom. In In re
                                                                                                 re
         Snyder, 52
                  52 F.3d 1067
                           1067 (5th Cir. 1995) (mem.) (characterizing the use of Rule 2004
         to further
         to  further a state
                       state court
                              court action
                                     action as anan abuse
                                                     abuse of
                                                            of Rule
                                                               Rule 2004
                                                                     2004 and
                                                                            and stating
                                                                                 stating that
                                                                                          that the
                                                                                                the
         bankruptcy    court did
         bankruptcy court     did not
                                   not abuse
                                        abuse its
                                               its discretion
                                                   discretion by
                                                               by denying
                                                                   denying production
                                                                             production under
                                                                                           under a
         subpoena issued
         subpoena   issued under
                            under Rule 2004, where appellant's primary
                                                                     primary motivation
                                                                               motivation was to
         use those materials inin a state court action          the examinee); see also Collins
                                                 action against the
         v. Polk, 115
                  115 F.R.D. 326, 328-29 (M.D. La.   La. 1987) (granting motion
                                                                          motion to impound all
                      taken pursuant to Rule 2004 and strongly condemning practice
         depositions taken                                                         practice where

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          plaintiff in district
          plaintiff in  district court
                                 court action   had filed
                                        action had   filed suit
                                                           suit but
                                                                but did
                                                                    did not
                                                                         not serve
                                                                              serve the
                                                                                     the pleadings,
                                                                                          pleadings,
          including an amended
          including       amended complaint,
                                     complaint, on Rule
                                                     Rule 2004
                                                           2004 examinee/defendants
                                                                  examinee/defendants until afterafter
          having
          having participated
                   participated inin bankruptcy
                                     bankruptcy trustee's Rule
                                                             Rule 2004
                                                                   2004 examinations);
                                                                         examinations); cf. In  In re
                                                                                                    re
          Coffee Cupboard, Inc., 128 B.R. 509, 515-517 (Bankr. E.D.N.Y. 1991)
          Coffee   Cupboard,      Inc.,  128   B.R.   509,   515-517   (Bankr.    E.D.N.Y.     1991)
          (balancing
          (balancing thethe individualized     elementsofof the
                             individualized elements          the case
                                                                  case to conclude
                                                                           conclude that
                                                                                       that limited
                                                                                             limited
          discovery under Rule 2004 was warranted,
          discovery                                         but only
                                               warranted, but   only to the extent relevant to the the
          transfer of
                   of assets within
                              within the
                                      the trustee's
                                          trustee's administrative  power. The
                                                    administrative power.    The court
                                                                                  court recognized
                                                                                         recognized
          the normative principle that "Rule 2004 examinations should not be used to obtain
          information for
          information    for use in
                                  in an
                                     an unrelated
                                         unrelated case
                                                    case or
                                                          or proceeding
                                                              proceeding pending
                                                                          pending before
                                                                                    before another
                                                                                             another
          tribunal").

 In re       Corp., 281 B.R. at 842.
    re Enron Corp.,

         22.     In In re
                        re Enron
                            Enron Corp., the bankruptcy    court denied
                                               bankruptcy court   denied the plaintiff in a fraud
                                                                                               fraud action
                                                                                                      action
 the opportunity
     opportunity to conduct
                       conduct Rule
                                 Rule 2004 discovery    against third party where discovery in the
                                              discovery against  a third  party where    discovery        the
                                                            motion to dismiss. Id. at 844. See also In
       action had been stayed pending the outcome of a motion
 fraud action
 re Comdisco,
    Comdisco, Inc.,    06 C 1535,
                Inc., 06      1535, 2006
                                      2006 WL
                                            WL 2375458,
                                                 2375458, at *7
                                                              *7 (N.D.
                                                                  (N.D. Ill.
                                                                         111. Aug.
                                                                              Aug. 14,
                                                                                    14, 2006)
                                                                                         2006) (reversing
                                                                                                  (reversing
 bankruptcy court's
              court's order
                      order for
                             for third
                                 third party
                                       party to produce
                                                produce confidential
                                                        confidential settlement agreement
                                                                                   agreement pursuant
                                                                                                pursuant to
 Rule 2004
 Rule  2004 where
              where the settlement
                           settlement agreement     was not
                                        agreement was    not relevant
                                                              relevant to
                                                                        to bankruptcy
                                                                            bankruptcy proceeding
                                                                                          proceeding and and
 production would circumvent discovery
                                   discovery rules governing pending state and federal litigation).
                                                                                           litigation).

          23.     Similar to the cases mentioned
                  Similar                 mentioned above,
                                                       above, a member of the Committee
                                                                                    Committee (in this case
 Stratford) is a plaintiff in the
                              the pending Oklahoma Litigation and is attempting to utilize utilize Rule 2004
 to circumvent discovery limitations in that case and procure
                                                           procure information from a non-debtor
                                                                                            non-debtor third
 party
 party in order to support
                    support its
                              its allegations
                                  allegations in the Oklahoma
                                                      Oklahoma Litigation.
                                                                 Litigation. Several
                                                                                 Several facts
                                                                                         facts illustrate
                                                                                                illustrate that
 this is the
         the Committee's
              Committee's (and
                             (and Stratford's)
                                   Stratford's) true
                                                 true motive
                                                      motive and
                                                              and not
                                                                   not for
                                                                        for the
                                                                             the purposes
                                                                                  purposes contemplated
                                                                                            contemplated by
       2004(b).22
 Rule 2004(b).

           (a)       Each and every category of documents requested by the Committee under items 7,
                     12, and 15
                             15 specifically
                                 specifically relates to alter ego/veil
                                                               ego/veil piercing
                                                                        piercing claims that Stratford
                                                                                             Stratford has
                     now brought against Summit and      SBN in the Oklahoma Litigation. See generally
                                                    and SBN                                      generally
                     Exhibit A to
                     Exhibit    to Subpoena,   Document Requests 1-15; see also generally
                                   Subpoena, Document                                 generally Alter
                                                                                                Alter Ego
                     Motion.

           (b)       The discovery
                          discovery period
                                     period in the Oklahoma
                                                      Oklahoma Litigation     expired as of August
                                                                  Litigation expired         August 1, 2016.
                                                                                                         2016.
                     Nevertheless,  Stratford seeks
                     Nevertheless, Stratford     seeks an
                                                        an order
                                                            order from
                                                                   from this Court
                                                                              Court requiring
                                                                                      requiring disclosure
                                                                                                 disclosure of
                     documents having no no bearing on thethe "acts,
                                                              "acts, conduct, or property or ... the liabilities
                     of the [D]ebtor[s],
                            [D]ebtor[s], or . .. .. any
                                                    any matter
                                                        matter which
                                                                which may
                                                                       may affect
                                                                            affect the
                                                                                    the administration
                                                                                        administration of the
                     [D]ebtorsn estate[s]."
                     [D]ebtors[']           FED.
                                  estate[s]."  FED.R.R.BANKR.
                                                         BANKR. P.P. 2004(b).

           (c)
           (c)       None of the requests
                                 requests for information  served by the Committee are limited
                                              information served                        limited in time
                     or scope. Moreover,
                               Moreover, almost
                                           almost every
                                                   every request
                                                          request by
                                                                  by the
                                                                      the Committee
                                                                          Committee indicates that it
                                                                                    indicates that  it is

 2
     "Rule
     "Rule 2004
             2004 permits
                    permits parties
                               parties in
                                       in interest
                                           interest in
                                                    in aa bankruptcy
                                                           bankruptcy case
                                                                       case to
                                                                            to examine
                                                                               examine entities
                                                                                           entities about
                                                                                                    about 'the
                                                                                                          'the acts,
                                                                                                                 acts, conduct,
                                                                                                                        conduct, or
                                                                                                                                 or
 property oror... the liabilities
                      liabilities of
                                  of the debtor,
                                         debtor, or  ... any matter
                                                  or...  any  matter which may  affect the  administration  of the debtor's estate,
                                                                                                                the debtor's estate,
 or ... the
        the debtor's               discharge.'" In
            debtor's right to aa discharge."'        re Blinder,
                                                  In re   Blinder, Robinson
                                                                   Robinson && Co., Inc.,   127 B.R. 267,
                                                                                     Inc., 127        267, 274 (D. Colo.
                                                                                                                       Colo. 1991)
                                                                                                                             1991)
 (quoting Rule 2004(b)).

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                 requesting "[a]ll
                 requesting   WI Documents
                                    Documentsand andCommunications"
                                                      Communications"concerning
                                                                           concerning matters
                                                                                      matters related
                                                                                              related to
                 the Oklahoma
                 the              Litigation without,
                     Oklahoma Litigation       without, in
                                                         in most
                                                            most cases,
                                                                  cases, limiting
                                                                         limiting the
                                                                                  the request  to a time
                                                                                      request to    time
                 period that
                 period  that would
                              would bebe relevant
                                          relevant to
                                                    to the
                                                        the Debtors'
                                                            Debtors' bankruptcy
                                                                     bankruptcycases.
                                                                                   cases. The
                                                                                          The lack
                                                                                               lack of a
                 temporal limit
                 temporal   limit is further indication   that the
                                              indication that  the Committee
                                                                   Committee is doing the bidding
                                                                                             bidding of
                 Stratford.

         (d)     Some of the
                 Some     the individual
                               individual documents
                                           documents requested
                                                       requested indicate
                                                                   indicate that Summit,
                                                                                 Summit, SBN
                                                                                           SBN andand
                 SummitBridge should provide "[a]l1   Documents and
                                               "[a]11 Documents    and Communications
                                                                        Communications .. . . relating
                 in any
                 in any way
                        way toto the
                                  theOklahoma
                                      Oklahoma Litigation
                                                  Litigation or
                                                              or the
                                                                  the Oklahoma
                                                                       Oklahoma Property
                                                                                  Property .. . . ."
                 Document Requests 7-9 and 15.
                 Document

         (e)     Many document
                        document requests refer to confidential
                                                          confidential and private documents that have no
                 impact or
                 impact   or relevance
                             relevance to   to the
                                                 the Debtors
                                                     Debtors oror the
                                                                   the Debtors'
                                                                        Debtors' financial
                                                                                   financial condition.
                                                                                              condition. See
                 Document Requests
                 Document                   12-14. For
                              Requests 12-14.          For example,
                                                            example, the
                                                                       the Committee       requests"[a]ll
                                                                            Committee requests        141 tax
                                                                                                            tax
                 returns of
                 returns of Summit, SBN, SummitBridge               including the
                                                   SummitBridge including      the tax
                                                                                     tax returns
                                                                                         returns of any other
                                                                                                          other
                 person or
                         or entity into which the information
                                                        information relating to Summit
                                                                                  Summit is incorporated
                                                                                               incorporated or
                                              at 12. This
                 consolidated .. .. .. ." Id. at
                 consolidated                         This document
                                                            document request
                                                                       request has
                                                                                has absolutely
                                                                                      absolutely nothing
                                                                                                 nothing to do
                 with
                 with the Debtors'
                           Debtors' bankruptcy
                                          bankruptcy case
                                                       case or the
                                                                the Debtors'
                                                                     Debtors' financial
                                                                              financial affairs
                                                                                           affairs and
                                                                                                   and instead
                                                                                                        instead
                 concentrates on
                 concentrates    on the the alter
                                            alter ego/veil
                                                    ego/veil piercing
                                                             piercing claims
                                                                        claims Stratford
                                                                                 Stratford intends
                                                                                             intends to bring
                                                                                                          bring
                 against Summit and  and SBN in the Oklahoma Litigation.

         24.     It is within
                       within this
                                this court's
                                     court's discretionary
                                              discretionary power of Rule
                                                                       Rule 2004(a)
                                                                              2004(a) toto deny
                                                                                            deny Rule
                                                                                                   Rule 2004
                                                                                                         2004
                                                                    improper purpose. See In re Snyder,
 discovery when discovery is improper or is requested for an improper
 52 F.3d
 52  F.3d 1067
           1067 (5th
                   (5th Cir.
                         Cir. 1995)
                               1995) (bankruptcy
                                       (bankruptcy court
                                                       court did
                                                             did not
                                                                  not abuse
                                                                       abuse its
                                                                               itsdiscretion
                                                                                   discretion by by denying
                                                                                                     denying
 production   under Rule
 production under     Rule 2004 subpoena
                                   subpoena where
                                               where appellant's primary
                                                                   primary motivation
                                                                             motivation was to use  use those
                                                                                                        those
 materials in
 materials  in a state
                 state court
                        court action   against the
                               action against    the examinee).
                                                     examinee). It is also
                                                                        also within
                                                                              within the
                                                                                     the Court's
                                                                                           Court's §§ 105(a)
                                                                                                       105(a)
 equitable power
 equitable  power to to do the
                            the same.    See In
                                 same. See     In re
                                                   re Adelphia
                                                       Adelphia Commc
                                                                 Commc'ns     Corp., 294
                                                                          'ns Corp.,  294 B.R. 39, 44-4544-45
 (Bankr. S.D.N.Y. 2003) ("[T]he Court believes that it has the power  power under .. .. .. Bankruptcy
                                                                                           Bankruptcy Code
 section 105(a),
 section  105(a), to stay
                       stay discovery
                             discovery from
                                         from parties
                                                 parties and
                                                         and non-parties
                                                              non-parties alike,
                                                                            alike, and
                                                                                   and to to stay
                                                                                              stay document
                                                                                                    document
               well as depositions.").
 discovery as well

         25.    As set
                    set forth above, the Committee is attempting to engage in improper
                                                                                   improper Rule 2004
 discovery against third parties having nothing to do with the financial
 discovery                                                        financial affairs of the
                                                                                       the Debtor,
                                                                                           Debtor, but
                                                                                                   but
 instead having to do only
 instead                only with
                              with the
                                    the Oklahoma
                                        Oklahoma Litigation
                                                   Litigation and Stratford's
                                                                   Stratford's claims
                                                                               claims against
                                                                                      against Summit
                                                                                              Summit
 and SBN. Accordingly,
             Accordingly, the
                           the Court
                               Court should
                                       should deny
                                              deny the
                                                    the Committee's
                                                        Committee's attempt
                                                                     attempt to
                                                                              to circumvent
                                                                                 circumvent discovery
 rules and a court order by quashing the Subpoenas.

 C.      The Summit
             Summit Subpoena
                      Subpoena Should
                                  Should be
                                          be Quashed
                                              Quashed Because
                                                      Because it is
                                                                  is Defective
                                                                     Defective and was
                                                                                   was Not
                                                                                       Not
                Pursuant to
         Served Pursuant  to Rule
                             Rule45(a)(1)(A)
                                  45(a)(1)(A)

         26.      Fed. R. CIv.
                  Fed.     Civ. P.
                                P. Rule
                                    Rule45(a)(1)(A),
                                          45(a)(1)(A),asasincorporated
                                                            incorporatedbybyFED.
                                                                               FED.R.R.BANKR,
                                                                                        BANKR. P.   P. 9016,
 specifies that
 specifies that every subpoena
                        subpoena must
                                   must set
                                        set out
                                            out the
                                                the text
                                                    text of
                                                         of Rule
                                                             Rule 45(d)
                                                                   45(d) and
                                                                          and (e).
                                                                              (e). The
                                                                                   The Subpoena
                                                                                        Subpoena served
                                                                                                      served
 on Summit does
              does not
                    not contain the information
                                    information set forth in Rules 45(d) and (e)(e) and thus is defective.
 Gibbons v.
 Gibbons              2010 WL 582354, at *3
           v. Smith, 2010                    *3 (S.D.N.Y.,2010)
                                                 (S.D.N.Y.,2010) (a "subpoena itselfitself is
                                                                                            is procedurally
                                                                                                procedurally
 defective under the Federal
                       Federal Rules of Civil Procedure for for failure to include the text of Rule 45(c)
                                                                                                       45(c)
 and (d)") (citing
            (citing Fed.
                    Fed. R. Civ. P. 45(a)(1)(A)(iv)).
                                    45(a)(l)(A)(iv)).



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                                                   7-
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         WHEREFORE,Summit
         WHEREFORE,         SummitInvestment
                                       InvestmentManagement
                                                     ManagementLLC,   LLC,SBN
                                                                           SBN FCCGFCCG LLCLLC and
                                                                                                and
 SummitBridge National
 SummitBridge    National Investments
                          Investments LLC LLC respectfully
                                               respectfully request
                                                            request the
                                                                     the Court quash the
                                                                                      the Subpoenas
                                                                                          Subpoenas
 issued by the Committee,
 issued         Committee, thereby
                             thereby requiring
                                      requiring no documents
                                                    documents be provided
                                                                    provided to the
                                                                                 the Committee,
                                                                                     Committee, and
                                                                                                and
                    and further relief as the
 request such other and                   the Court deems just and appropriate.

         DATED this 11th
         DATED this llth day
                         day of
                             of November,
                                November, 2016.

                                               LEWIS ROCA ROTHGERBER CHRISTIE LLP

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                                               E-mail: ccaby@lrrc.com
                                               E-mail:    ccabv@lrrc.com

                                               Attorneys for
                                                         for Summit Investment Management
                                                                               Management LLC,
                                                                                          LLC,
                                                    FCCG LLC, and SummitBridge National
                                               SBN FCCG
                                               Investments LLC
                                                           LLC




                                  CERTIFICATE OF
                                  CERTIFICATE OF MAILING
                                                 MAILING

         The undersigned
              undersigned hereby  certifies that,
                          hereby certifies  that, on
                                                  on November
                                                     November 11, 11, 2016,
                                                                      2016, a true
                                                                              true and correct
                                                                                       correct copy of
                                                                                                    of
 the foregoing
      foregoing MOTION
                MOTION TO  TO QUASH
                                QUASH SUBPOENA
                                           SUBPOENA FOR   FOR RULE
                                                                 RULE 2004
                                                                         2004 EXAMINATION
                                                                                EXAMINATION was   was
 mailed by depositing same in the
                               the United States mail, first-class
                                                        first-class postage prepaid, addressed
                                                                                      addressed to the
 following:

 Foot Locker Specialty, Inc.                           Stratford Holding LLC
 Attn: Facilities
       Facilities Payables                             116 Central
                                                            Central Park
                                                                    Park South, #3B
 P.O. Box 2943                                         New York
                                                             York NY
                                                                  NY 10019-1524
                                                                       10019-1524
 Harrisburg, PA
 Harrisburg,  PA 17105-2943
                  17105-2943

 and to the
        the CM/ECF registered
                      registered attorneys and
                                            and parties in interest at
                                                                    at the addresses
                                                                           addresses of record on the
 Court's electronic
 Court's electronic database
                    database as of the date of service of
                                                       of the
                                                          the above.
                                                              above. See
                                                                       See attached
                                                                           attached Service List.


                                               s/ Jennah Little
                                                         Little
                                                    LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                               OF: LEWIS




 2010757655_1
 2010757655 1                                -8
            Case:16-13815-TBM Doc#:357 Filed:11/11/16                     Entered:11/11/16 16:00:08 Page9 of 13
Label Matrix for
Label        for local noticing
                       noticing          50.00 Eye Guy
                                         50.00     Guy Holding
                                                       Holding LLC-L196                 63 Associates, Inc.
                                                                                        63
1082-1                                   5328 North Davis
                                         5328       Davis Hwy., #0101                   c/o Empire Management
                                                                                        c/o        Management
Case 16-13815-TBM
Case 16-13815-TBM                        Pensacola, FL 32503-2006
                                         Pensacola,    32503-2006                       3348 Knight Street
                                                                                        3348        Street
District of Colorado                                                                    Oceanside,
                                                                                        Oceanside, NY
                                                                                                   NY 11572-4614
                                                                                                      11572-4614
Denver
Denver
Fri Nov 11
Fri     11 15:12:51
           15:12:51 MST 2016
                        2016
Ahmed A Khatab
Ahmed   Khatab dba
               dba Just Bargain          Donald D. Allen
                                         Donald                                         Allied Communication Group LLC
                                                                                        Allied                     LLC
2426 Mountain Avenue
2426                                     1700 Lincoln St.
                                         1700         St.                               6285 Oxon Hill Road,
                                                                                        6285                 Unit B
                                                                                                       Road, Unit
Upland, CA 91784-1043
Upland,    91784-1043                    Ste. 4550
                                         Ste.                                           Oxon Hill, MD 20745-6013
                                                                                        Oxon
                                         Denver, CO 80203-4509
                                         Denver,    80203-4509


Arthur Bell CPAs
Arthur                                   BINK'M Company, LLC
                                         BINK'M                                         Bingswanger Glass Company
                                                                                        Bingswanger
201 International
201 International Circle,
                   Circle, Ste  400
                            Ste 400      Greg Bears, General
                                         Greg        General Counsel                    1724 FM 1960 West
                                                                                        1724         West
Hunt Valley, MD
Hunt         MD 21030-1369
                21030-1369               2540 Kipling Street
                                         2540         Street                            Houston, TX 77090-3202
                                                                                        Houston,
                                         Lakewood, CO 80215-1527
                                         Lakewood,    80215-1527




Bink'M Company LLC/Gregg Bears
Bink'M                   Bears           Capstock
                                         Caps took LLC
                                                   LLC                                  Castellan Financial Corp
                                                                                        Castellan
2540 Kipling St.,
             St., Suite 802              c/o Greyhawke
                                         c/o Greyhawke Capital Advisors LLC
                                                       Capital Advisors LLC             25379 Wayne Mills
                                                                                        25379       Mills Place, #258
Denver, CO 80215-1527
Denver,    80215-1527                    340 Pemberwick Road
                                         340            Road                            Valencia, CA
                                                                                        Valencia,    91355-1827
                                                                                                  CA 91355-1827
                                         Greenwich, CT 06831-4240
                                         Greenwich,




City of Baytown -- Health
City               Health Dept           City of Puyallup
                                         City    Puyallup                               Colorado Department Of
                                                                                        Colorado            Of Revenue
                                                                                                               Revenue
220 W DeFee Ave
220         Ave                          Utilities Billing and Customer
                                         Utilities             Customer Svc             1375 Sherman St.
                                                                                        1375
Baytown, TX 77520-4010
Baytown,                                 P.O. Box 35160
                                         P.O.                                           Room 504
                                                                                        Room
                                         Seattle, WA 98124-5160                         Attention Bankruptcy Unit
                                                                                        Attention
                                                                                        Denver CO 80261-3000

Commercial Asset Preservation
Commercial                    LLC
                 Preservation LLC        Ryan C Craig
                                         Ryan   Craig                                   D.C. Inc.
                                                                                        D.C. Inc.
220 E Morris Ave, 1400
220               #400                   1825 Eye
                                         1825 Eye Street NW                             c/o Craig Taylor
                                                                                        c/o
Salt Lake City, UT
Salt            UT 84115-3289
                   84115-3289            Washington, DC 20006-5403
                                         Washington,    20006-5403                      895 Bolger
                                                                                        895        Court
                                                                                            Bolger Court
                                                                                        Fenton, MO 63026-2017
                                                                                        Fenton,    63026-2017




John D,
John D. Demmy
        Demmy                            Desert Rat Off
                                         Desert     Off Road                            Discount Auto Parts,
                                                                                        Discount      Parts, Inc-Store 9271
919 North Market
919              St.
          Market St.                     3545 S.
                                         3545    Richey
                                              S. Richey                                 Real Estate Department
                                                                                        Real
Ste. 1300
Ste. 1300                                Tucson, AZ 85713-5432
                                         Tucson,                                        P.O. Box
                                                                                        P.O. Box 2710
Wilmington, DE 19801-3092
Wilmington,                                                                             Roanoke, VA 24001-2710
                                                                                        Roanoke,    24001-2710


EZCORP, Inc.
EZCORP,                                  Elaine K,
                                         Elaine    Hall Revocable Trust
                                                K. Hall           Trust                 Elaine K,
                                                                                        Elaine K. Hall Revocable Trust
                                                                                                  Hall Revocable
Lease Administration/Real Estate
Lease                     Estate         c/o Shannon P. Wheeler                         c/o Shannon P. Wheeler
                                                                                        c/o            Wheeler
2500 Bee Cave Road,
2500          Road, Bldg. 1, Suite 200
                          1, Suite       Titus Hillis
                                         Titus Hillis Reynolds Love
                                                               Love                     15 East
                                                                                        15      Fifth Street,
                                                                                           East Fifth Street, Suite 3700
                                                                                                                    3700
Austin, TX 78746-0016
           78746-0016                    15 E.
                                         15    Fifth Street
                                            E. Fifth Street                             Tulsa, Oklahoma 74103-4304
                                                                                        Tulsa,
                                         Suite 3700
                                         Suite
                                         Tulsa, OK 74103-4304
                                         Tulsa,    74103-4304
Extra Cheese
Extra        LLC
      Cheese LLC                         FFI Florida Inc.
                                         FFI                                            Fabric Outlet && Unique Boutique LLC
                                                                                        Fabric                           LLC
500 E Carson Plaza
500          Plaza Dr.,
                   Dr., Ste 202
                            202          dba La Familia Pawn
                                         dba            Pawn and Jewel                  57085 29
                                                                                        57085 29 Palm Highway
Carson, CA
Carson, CA 90746-7329                    2600 Lake Lucien
                                         2600      Lucien Drive, Suite 116              Yucca Valley,
                                                                                        Yucca         CA 92284-2980
                                                                                              Valley, CA
                                         Maitland, FL 32751-7235


Matthew T,
Matthew T. Faga                          Fast Auto
                                         Fast Auto Loans, Inc.                          Fast Auto and
                                                                                        Fast      and Payday Loans, Inc.
1700 Lincoln St.
1700                                     Attn
                                         Attn   Real Estate Dept
                                                Real        Dept                        Attn
                                                                                        Attn   Real Estate Dept,
                                                                                               Real
Ste. 4550
Ste. 4550                                8601 Dunwoody
                                         8601 Dunwoody Place, Ste 406
                                                       Place, Ste 406                   8601 Dunwoody
                                                                                        8601 Dunwoody Place,
                                                                                                      Place, Unit 406
                                                                                                                  406
Denver, CO 80203-4509
Denver,    80203-4509                    Atlanta, GA 30350-2550
                                         Atlanta,    30350-2550                         Atlanta, GA
                                                                                        Atlanta, GA 30350-2550
             Case:16-13815-TBM Doc#:357 Filed:11/11/16               Entered:11/11/16 16:00:08 Page10 of 13
First National
First National Denver-L141            First Run TV,
                                      First         LLC
                                                TV, LLC                             Five Laundries, LLC
                                                                                    Five
2950 N. Garfield Avenue
2950             Avenue               57085 29 Palms Highway
                                      57085                                         8100 Wyoming Blvd.,
                                                                                    8100         Blvd., NE Ste. M4 1504
                                                                                                                   #504
Loveland, CO
Loveland, CO 80538-2212
             80538-2212               Yucca Valley, CA
                                      Yucca         CA 92284-2980                   Albuquerque, NM 87113-1963
                                                                                    Albuquerque,    87113-1963



Fog Cap Retail
Fog     Retail Investors LLC          Foot Locker Specialty,
                                      Foot        Specialty, Inc.
                                                             Inc,                   Fourwinds Hot Tubs
                                                                                    Fourwinds     Tubs LLC -- L206
                                                                                                              L206
1700 Lincoln Street, Suite
1700                 Suite 2150       Attn
                                      Attn   Facilities Payables
                                             Facilities Payables                    13945 N Hwy 183, Suite
                                                                                    13945            Suite 386
Denver, CO
Denver, CO 80203-4500
           80203-4500                 P.O. Box
                                      P.O. Box 2943
                                               2943                                 Austin, TX 78717-5908
                                                                                    Austin,
                                                     17105-2943
                                      Harrisburg, PA 17105-2943




Caroline C. Fuller
Caroline                              GH Pacific Corp.
                                      GH                                            Granickin LLC
                                                                                    Granickin LLC
1801 California St,
1801            St.                   1882 La Cuesta
                                      1882    Cuesta Drive, #100
                                                            #100                    c/o Jeffrey
                                                                                    c/o Jeffrey Rhodes,
                                                                                                Rhodes, Esq,
                                                                                                        Esq.
Ste. 2600
Ste. 2600                             North Tustin, CA 92705-2521
                                      North                                         Blank Rome
                                                                                    Blank Rome LLP
                                                                                               LLP
Denver, CO 80202-2645
Denver,                                                                             1825 Eye
                                                                                    1825 Eye Street NW
                                                                                             Street NW
                                                                                    Washington, D.C
                                                                                    Washington, D.0 20006-5417
                                                                                                    20006-5417


Michael J. Guyerson
Michael                               Harpard Associates L.P,
                                      Harpard            L.P.                       Hollywood Beauty Supplies,
                                                                                    Hollywood        Supplies, LLC
999 18th St.
999                                   c/o First Winthrop Corporation
                                      c/o                                           1448 N.
                                                                                    1448 N. Kings Highway
Ste., 1230 South
      1230 South                      77 Bulfinch
                                         Bulfinch Place, Suite 500                  Saint Louis,
                                                                                          Louis, MO 63113-1411
Denver, CO 80202-2414
Denver,                               Boston, MA 02114-2904
                                      Boston,    02114-2904


IRS
IRS                                   J 4& AA Rentals - Colortyme
                                                        Colortyme                   J4L Lawn Care
                                                                                    J&L Lawn
PO Box 7346
PO     7346                           P.O. Box
                                      P.O. Box 287                                  1375 Salem
                                                                                    1375 Salem Church Rd
                                                                                                      Rd
Philadelphia PA 19101-7346
Philadelphia                          Derby, KS 67037-0287
                                      Derby,                                        Carrollton, GA 30117-7877
                                                                                    Carrollton,    30117-7877




Jaya'l Associates
Jayal  Associates LP                  Kin Properties, Inc.
                                      Kin                                           L.O.I. Nevada, LLC
                                                                                    L.O.I.         LLC
c/o First Winthrop Corporation
c/o                Corporation        185 NW Spanish River Blvd.,
                                      185                  Blvd., Suite
                                                                  Suite 100         2499 King Avenue,
                                                                                    2499      Avenue, West Suite
                                                                                                           Suite A
77 Bulfinch Place, Suite 500
            Place, Suite              Boca Raton,
                                      Boca        FL 33431-4230
                                           Raton, FL                                Billings, MT 59102-7462
                                                                                    Billings,    59102-7462
Boston, MA 02114-2904
Boston,




LG Warehouse
LG           Electronics
   Warehouse Electronics              La Bendicion Market
                                      La           Market                           La Cocina De Mi Tierra
2024 Thunder Ridge
2024                                  c/o Sam
                                      c/o Sam Chavarria                             6285 Oxon
                                                                                    6285 Oxon Hill Road,
                                                                                                   Road, Unit A
El Paso, TX
El          79938-4629
         TX 79938-4629                6285 Oxon
                                      6285 Oxon Hill Rd,
                                                     Rd, Unit CC                    Oxon Hill,
                                                                                    Oxon Hill, MD 20745-6013
                                      Oxon Hill, MD
                                      Oxon       MD 20745-6013
                                                    20745-6013


Lexkin LLC
Lexkin LLC                            Lineberry Properties, Inc.
                                      Lineberry                                     Loka Properties
                                                                                    Loka Properties
c/o Jeffrey Rhodes, Esq.
c/o                 Esq,              P.O. Box
                                      P.O. Box 1767                                 Dept 34784
                                                                                    Dept
Blank Rome
Blank Rome LLP
           LLP                        Mount Juliet, TN 37121-1767
                                      Mount            37121-1767                   P.O. 3900
1825 Eye Street
1825     Street NW                                                                  San Francisco,
                                                                                    San Francisco, CA 94139-0001
Washington, D.C
Washington, D.0 20006-5417


Mangos JB LLC
Mangos    LLC                         James T. Markus
                                               Markus                               Mattress Warehouse
                                                                                    Mattress Warehouse of
                                                                                                       of Herndon, LLC
2213 S. Caraway Road
2213                                  1700 Lincoln
                                      1700 Lincoln St.                              4949 New Design Road
                                                                                    4949
Jonesboro, AR
           AR 72401-6204              Ste. 4550
                                      Ste. 4550                                     Frederick, MD 21703-7111
                                      Denver, CO 80203-4509
                                      Denver,    80203-4509


Cristina B. McGarr
Cristina                              Miller &4 Sons
                                      Miller    Sons Floor Covering, Inc.
                                                                     Inc.           Daniel J. Morse
                                                                                    Daniel    Morse
250 Arapahoe Ave.,
250                Ste, 301
             Ave., Ste.               1692 E Sixth Street
                                      1692         Street                           308 W.
                                                                                    308 W. 21st
                                                                                           21st St.
Boulder, CO 80302-5838
Boulder,    80302-5838                Beaumont, CA 92223-2510
                                                   92223-2510                       Ste, 203
                                                                                    Ste. 203
                                                                                    Cheyenne, WY 82001-3669
                                                                                    Cheyenne,    82001-3669
            Case:16-13815-TBM Doc#:357 Filed:11/11/16                  Entered:11/11/16 16:00:08 Page11 of 13
New Life Ministries
New      Ministries of Bowies,
                       Bowies, MD
                               MD         Northwest Motor
                                          Northwest Motor Sport
                                                          Sport                       Paige Wilson/Love Shack
                                                                                      Paige
13604 Annapolis Rd.,
13604                S3
                Rd., #3                   819 River Road,
                                          819       Road, #0101                       2441Q Old Fort Pkwy,
                                                                                      2441Q          Pkwy, #362
Bowie, MD 20720-3839
          20720-3839                      Puyallup, WA 98371-4148                     Murfreesboro, TN 37128-4162
                                                                                      Murfreesboro,    37128-4162




Pleasant Associates,
Pleasant             LLC
         Associates, LLC                  RDJD, Inc.
                                          RDJD,                                       Radnor Associates Limited Partnership
                                                                                      Radnor
c/o Nellis Corporation
c/o                                       P.O. Box
                                          P.O. Box 530566
                                                   530566                             c/o Greyhawke
                                                                                      c/o Greyhawke Capital Advisors
                                                                                                            Advisors LLC
6001 Montrose
6001 Montrose Road, Suite
                    Suite 600
                          600             Henderson, NV 89053-0566
                                          Henderson,    89053-0566                    340 Pemberwick Road
                                                                                      340            Road
Rockville, MD 20852-4873
Rockville,    20852-4873                                                              Greenwich, CT 06831-4240


Ramboll Environ
Ramboll Environ                           Reagan National
                                          Reagan National Advertising, Inc.           Republic Services
                                                                                      Republic
4350 North
4350 North Fairfax Drive                  7301 Burleson
                                          7301 Burleson Road                          P.O. Box
                                                                                      P.O. Box 78829
Suite 300
Suite                                     Austin, TX
                                          Austin,    78744-3207
                                                  TX 78744-3207                       Phoenix, AZ 85062-8829
                                                                                      Phoenix,    85062-8829
Arlington, VA 22203-1619
Arlington,




Jeffrey Rhodes                            Christopher L. Richardson                   Steven R.
                                                                                             R, Rider
                                                                                                Rider
1825 Eye St.
1825         NW
         St. NW                           1550 17th
                                          1550 17th St.
                                                    St.                               1700 Lincoln St.
                                                                                      1700
Washington, DC
Washington, DC 20006-5403
               20006-5403                 Ste. 500
                                          Ste. 500                                    Ste. 4550
                                                                                      Ste.
                                          Denver, CO 80202-1500
                                          Denver,    80202-1500                       Denver, CO
                                                                                      Denver,    80203-4509
                                                                                              CO 80203-4509




Roseff LLC
Roseff LLC and Esbrooke LLC
                        LLC               Rosenberg Martin
                                          Rosenberg Martin Greenberg LLP              SBN FCCG LLC
                                                                                      SBN
c/o Jeffrey Rhodes,
c/o                 Esq.
            Rhodes, Esq.                  25 S Charles
                                          25   Charles St, 21st F1
                                                           21st Fl                    C/O Steven C Petrie
                                                                                      C/O
Blank Rome LLP                            Baltimore, MD 21201-3322                    1700 Lincoln Street Suite
                                                                                      1700                Suite 2150
1825 Eye
1825     Street NW
     Eye Street NW                                                                    Denver, CO
                                                                                      Denver, CO 80203-4500
Washington, D.C
Washington, D.0 20006-5417


SBN .Fog
SBN  Fog Cap
         Cap II LLC                       SRS Real
                                          SRS      Estate Partners
                                              Real Estate Partners                    Santa Clara Water
                                                                                      Santa       Water Division
1700- Lincoln
1700  Lincoln Street, Suite 2150
                            2150          8343 Douglas Avenue
                                          8343                                        P.O. Box
                                                                                      P.O. Box 51115
                                                                                               51115
Denver, CO 80203-4500
Denver,                                   Suite 200
                                          Suite                                       Los Angeles, CA 90051-5415
                                                                                      Los             90051-5415
                                          Dallas, TX 75225-5885
                                          Dallas,




Securities and Exchange Commission
Securities              Commission        Select Management
                                          Select            Resources, LLC
                                                 Management Resources,                Joel I,
                                                                                      Joel    Sher
                                                                                           I. Sher
Midwest Regional
Midwest          Office
        Regional Office                   Attn Natalie
                                          Attn  Natalie DuBose
                                                         DuBose                       250 W.
                                                                                      250 W. Pratt St,
                                                                                             Pratt St.
175 W,
175    Jackson Blvd.
    W. Jackson                            3440 Preston Ridge Road,
                                          3440               Road, Suite 500
                                                                         500          Ste. 2000
                                                                                      Ste. 2000
Ste. 900
Ste.                                      Alpharetta, GA
                                          Alpharetta,    30005-3023
                                                      GA 30005-3023                   Baltimore, MD 21201-6814
                                                                                      Baltimore,
Chicago IL 60604-2815
Chicago


Sherwin Williams
Sherwin                                   Sherwin Williams
                                          Sherwin Williams                            Soresi Revocable Trusts
Real Estate
Real Estate Accounting Dept-Store #7143
            Accounting Dept-Store #7143   Real Estate
                                          Real Estate Acct. Dept -- Store #7112       c/o Elyse Vinitsky
                                                                                      c/o
P.O. Box
P.O. Box 6798                             P.O. Box
                                          P.O. Box 6798                               Attorney at
                                                                                      Attorney    Law
                                                                                               at Law
Cleveland, OH
           OH 44101-1798
              44101-1798                  Cleveland, OH 44101-1798
                                          Cleveland,                                  4801 Hampton
                                                                                      4801 Hampton Lane,
                                                                                                   Lane, Apt. 501
                                                                                      Bethesda, MD 20814
                                                                                                MD 20814


Stratford Holding
Stratford Holding LLC
                  LLC                     Summit Investment Management LLC
                                          Summit                       LLC            Taber Associates Limited Partnership
                                                                                      Taber
116 Central
    'Central Park
              Park South,
                   South, #3B             C/O Bryan Caylor
                                          C/O                                         c/o First
                                                                                      c/o First Winthrop Corporation
Sew
New York, NY
          NY 10019-1524                   1700 Lincoln
                                          1700 Lincoln Street  Suite 2150
                                                        Street Suite 2150             7 Bulfinch Place, Suite 500
                                          Denver, CO 80203-4500
                                          Denver,    80203-4500                       Boston, MA 02114-2904
                                                                                      Boston,    02114-2904


The Bargain Store
The                                       The Discount
                                          The Discount Depot #3
                                                             #3                       (p)TMX FINANCE LLC
                                                                                      (p)TMX         LLC FORMERLY
                                                                                                         FORMERLY TITLEMAX
                                                                                                                  TITLEMAX
1499 W Arrow
1499   Arrow Highway                      4800 West
                                          4800 West Bank Expressway
                                                         Expressway                   15 BDLL
                                                                                      15      STREET
                                                                                         BULL STREET
San Dimas, CA
San        CA 91773-2331                  Marrero, LA 70072-3006
                                                      70072-3006                      SUITE 200
                                                                                      SUITE
                                                                                      SAVANNAH GA
                                                                                      SAVANNAH GA 31401-2686
                                                                                                  31401.2686
           Case:16-13815-TBM Doc#:357 Filed:11/11/16                                          Entered:11/11/16 16:00:08 Page12 of 13
Trustees of the
              the Roseff
                  Roseff Trust
                          Trustand
                                andEsbrooke
                                    Esbrooke Tr              US Trustee
                                                             US  Trustee                                                 Venture Liquors
                                                                                                                         Venture
c/o Jeffrey
    JeffreyRhodes,
              Rhodes, Esq,
                      Esq.                                   Byron G.
                                                             Byron  G. Rogers
                                                                       RogersFederal
                                                                               Federal Building                          13146 Constable Avenue
                                                                                                                         13146            Avenue
Blank Rome
Blank  Rome LLP
             LLP                                             1961 Stout
                                                             1961  Stout St.                                             Granada
                                                                                                                         Granada Hills,  CA 91344-1105
                                                                                                                                 Hills, CA   91344-1105
1825 Eye
1825  Eye Street
          StreetNW NW                                        Ste.  12-200
                                                             Ste. 12-200
              D,C 20006-5417
Washington, D,C   20006-5417                                 Denver, CO
                                                             Denver,  CO 80294-6004
                                                                          80294-6004

Shannon
Shannon P, Wheeler
             Wheeler                                               Lynn Wolf-Smith
                                                             Risa Lynn   Wolf-Smith                                      c/o Halle-Von
                                                                                                                             Halle-Von Voigtlander
15 E,
15     5th St.,
   E, 5th   St., Ste.
                  Ste.3700
                       3700                                  555
                                                             555 17th
                                                                  17th St.
                                                                        St,                                              Dept. 1100
                                                                                                                         Dept.  1100 - -COD16
                                                                                                                                         COD16
Tulsa,  OK 74103-4304
Tulsa, OK   74103-4304                                       Ste.  3200
                                                             Ste. 3200                                                   20225
                                                                                                                         20225 N,
                                                                                                                                N, Scotsdale RdRd
                                                             Denver, CO
                                                                      CO 80202-3921
                                                                          80202-3921                                     Chandler, AZ
                                                                                                                         Chandler,  AZ 85225
                                                                                                                                         85225




                       The
                       Thepreferred
                            preferred mailing
                                       mailingaddress
                                               address(p)
                                                        (p)above
                                                             abovehashasbeen
                                                                          beensubstituted
                                                                                substitutedforforthe
                                                                                                  thefollowing
                                                                                                      followingentity/entities
                                                                                                                   entity/entities as so specified
                                                                                                                                   as so  specified
                       by said entity/entities
                       by      entity/entitiesin in a Noticeof of
                                                 a Notice         Addressfiled
                                                               Address      filed pursuanttoto1111U.S.C.
                                                                                pursuant            U.S.C.342(f)
                                                                                                            342(f)and
                                                                                                                    andFed.R.Bank.P.
                                                                                                                         Fed.R.Bank,P, 2002
                                                                                                                                         2002 (g)(4),
                                                                                                                                              (g)(4).



Titlemax
      LeasingManager
Attn Leasing  Manager
15 Bull
15 Bull Street, Suite
                Suite 200
                       200
Savannah, GA
Savannah, GA 31401




                     The
                     Thefollowing
                         followingrecipients  may be/have
                                   recipients may  be/havebeen
                                                           beenbypassed
                                                                bypassedforfornotice
                                                                                noticedue
                                                                                       duetotoananundeliverable
                                                                                                   undeliverable(u)
                                                                                                                 (u)or
                                                                                                                     or duplicate
                                                                                                                        duplicate (d) address.
                                                                                                                                      address,


(u)Carro Audio &
(u)Carro Audio  4 Tint                                       (u)Certain Landlords and
                                                             (u)Certain Landlords and Real
                                                                                      Real Property
                                                                                            PropertyOwners
                                                                                                     Owners              (u)Esbrooke  LLC
                                                                                                                         (u)Esbrooke LLC
4494
4494 Hwy
     Hwy66N,N, Suite B
               Suite B
TX
TX 77804




(u)Foot
(u)Foot Locker
        LockerRetail,
               Retail, Inc.                                  (du)Foot
                                                             (du)FootLocker
                                                                      LockerRetail,
                                                                             Retail, Inc.                                (u)Granickin  LLC
                                                                                                                         (u)Granickin LLC




(u)HH
(u)HH Locker,  LLC
      Locker, LLC                                            (u)Jeffrey Sandelman, as
                                                             (u)Jeffrey Sandelman,     successor Trustee
                                                                                    as successor Trustee of              (u)Kin
                                                                                                                         (u)KinProperties,
                                                                                                                                Properties, Inc.




(u)Lexkin  LLC
(u)Lexkin LLC                                                (u)Reagan
                                                             (u)ReaganNational
                                                                       NationalAdvertising,
                                                                                Advertising, Inc.                        (u)Roseff  LLC
                                                                                                                         (u)Roseff LLC




(u)SPP         LLC
(u)SPP Locker LLC                                            (u)Steven Sandelman, Elyse Sandelman
                                                             (u)Steven Sandelman,       Sandelman and
                                                                                                  and Trac               (u)Stratford  Holding,LLC
                                                                                                                         (u)Stratford Holding,  LLC
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(u)Unsecured Creditors'
(u)Unsecured Creditors' Committee
                         Committee   End of Label
                                     End of Label Matrix
                                                   Matrix
                                     Mailable  recipients
                                     Mailable recipients     95
                                     Bypassed  recipients
                                     Bypassed recipients     16
                                     Total                  111
